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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO
                                Judge Raymond P. Moore


   Civil Action No. 18-cv-01006-RM-MEH

   RICHARD A. MESTAS, SR., and
   LORI ANNE MUSE,

                 Plaintiffs,

   v.

   AIR & LIQUID SYSTEMS CORPORATION,
   a/k/a BUFFALO PUMPS, Inc., et al.

                 Defendants.



          ORDER GRANTING PLAINTIFFS’ STIPULATED MOTION TO DISMISS
        WITHOUT PREJUDICE AS TO ALL REMAINING DEFENDANTS (ECF No. 501)


          This Matter is before the Court on Plaintiffs’ Stipulated Motion to Dismiss Without

  Prejudice as to All Remaining Defendants (ECF No. 501). This Court, being fully apprised in the

  premises, hereby

          ORDERS that the Stipulated Motion to Dismiss Without Prejudice as to All Remaining

  Defendants is hereby GRANTED. All claims asserted by Plaintiffs against All Remaining

  Defendants are dismissed without prejudice, with each party to pay its own attorneys’ fees and

  costs; and
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          FURTHER ORDERS that there being no parties or claims remaining, the Clerk of Court

  is directed to close this case.

          DATED this 12th day of August, 2022.

                                                     BY THE COURT:




                                                     ____________________________________
                                                     RAYMOND P. MOORE
                                                     United States District Judge




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